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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
vs.                                          )       Case No. 20-CR-30018-SMY
                                             )
ZACHARY M. STAUFFER,                         )
                                             )
               Defendant.                    )

                   ORDER FOR PRESENTENCE PROCEDURE
YANDLE, District Judge:

       This matter comes before the Court in anticipation of the sentencing hearing. Strict

compliance with Federal Rule of Criminal Procedure 32 and Southern District of Illinois Local

Rule Cr. 32.1 will be required.

       Any objections to the Presentence Report (PSR) and/or Exhibit A, “Recommended Terms

and Conditions of Supervised Release” proposed by the United States Probation Office

(Recommended Terms) must be filed no later than 14 days after a party receives the PSR or

Recommended Terms. For counsel, “receive” means the date the PSR and/or Recommended

Terms were docketed in the Case Management/Electronic Case Filing (“CM/ECF”) system.

Responses to objections must be filed no later than 7 days after objections are received.

       If the Government or the Defendant believes additional terms or conditions of

supervision (i.e., terms or conditions not recommended by the Probation Office) are appropriate,

it is the responsibility of the prosecutor or defense counsel to file objections to the Recommended

Terms in a manner consistent with the time limits set forth above, in order to allow opposing

counsel sufficient notice and opportunity to thoroughly respond at sentencing.

       The parties are encouraged to consult with the probation officer who authored the PSR

before filing formal objections to the PSR, in an effort to obtain agreement to revise the report

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without the necessity of formal objections. Any unresolved objections to the PSR which are subject

to a formal objection shall cause the probation officer to prepare an addendum addressing each

objection. Objections to the Recommended Terms will be addressed by the Court at sentencing.

If there are no objections, or if there are minimal objections to the Recommended Terms of

Supervised Release, the Defendant and his/her Counsel may sign a Full or Partial Waiver of the

Reading of Terms and Conditions of Supervision in Open Court. Said waivers are attached

hereto and shall be filed no later than one day prior to Sentencing.

       Sentencing memoranda are strongly encouraged and must be filed no later than 7 days

before the sentencing hearing. Likewise, if either party intends to present testimony at the

sentencing hearing, notice of the proposed witnesses, the subject of each witness’s testimony, and

the projected length of the testimony shall be filed with the Court (and served on opposing counsel)

no later than 7 days before the sentencing hearing. Generally, the Court schedules sentencing

hearings for an hour, and this information will allow the Court the opportunity to change its

schedule, if necessary.

       Finally, counsel are reminded that communications from victims or from supporters of

Defendant should be channeled through counsel or probation – not sent directly to the Court.

       IT IS SO ORDERED.

       DATED: March 30, 2021

                                                     s/Staci M. Yandle
                                                     Staci M. Yandle
                                                     United States District Judge




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